                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                 Plaintiff,

        V.                                                     Case No. 18-CR-91

EBONY LAVONNE SMITH,

                                 Defendant


                                        PLEA AGREEMENT


       1.          The United States of America, by its attorneys, Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Gail J. Hoffman, Assistant United

States Attorney, and the defendant, Ebony Lavonne Smith, individually and by attorney Daniel

Resheter, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the

following plea agreement:

                                              CHARGES

       2.          The defendant has been charged in one-count indictment, which alleges a

violation of Title 18, United States Code, Section 1709.

       3.          The defendant has read and fully understands the charge contained in the

indictment. She fully understands the nature and elements of the crime with which she has been

charged, and the charge and the terms and conditions of the plea agreement have been fully

explained to her by her attorney.

       4.       The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:



                                                   1

             Case 2:18-cr-00091-LA Filed 09/12/18 Page 1 of 12 Document 16
        Between April 1, 2017, and January 25, 2018, in the State and Eastern District of

Wisconsin,

                                   EBONY LAVONNE SMITH,

while employed by the United States Postal Service and entrusted with articles of mail, did steal

U.S. currency contained therein.

       All in violation of Title 18, United States Code, Section 1709.

       5.      The defendant acknowledges, understands, and agrees that she is, in fact, guilty of

the offense described in paragraph 4. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the following facts beyond a

reasonable doubt. The defendant admits that these facts are true and correct and establish her

guilt beyond a reasonable doubt:

       On March 23, 2015, Ebony Smith began her employment with the U.S. Postal Service
(USPS). On March 28, 2017, Smith was assigned to deliver mail in Wauwatosa, Wisconsin, zip
codes 53213 and 53226. As early as August 2017, USPS customers located in these zip codes
complained that they had not received greeting cards in the mail. As a result of these complaints,
USPS identified Smith as the mail carrier who would have delivered this mail

       On January 25, 2018, a piece of first class mail containing a greeting card and a $20 bill
were prepared for delivery. The greeting card and currency were placed in a blue envelope
addressed: BHBC, Attn: Jill "Birthday Girl" Moody, 62XX W. State St., Wauwatosa, WI
53213 with a return address of Melissa Moody, 13XX N. 12th St., #5364, Milwaukee, WI 53205.
The envelope also contained a transmitter that signaled when the envelope was opened.

        On this same date, after preparing the envelope with the transmitter, a USPS supervisor
placed the envelope in a container earmarked for Smith's delivery route. While under
surveillance, a USPS supervisor first observed Smith rifling through trays assigned to other
delivery routes. The supervisor then observed Smith remove greeting cards, placing them in her
tray. Shortly thereafter, Smith picked up the mail for her delivery route, including the blue test
envelope, and brought it to her assigned postal vehicle.

        Smith began delivering the mail and when she arrived at the address of the blue test
greeting card, the transmitter activated, signaling that the envelope had been opened. At this
time, investigating postal agents approached Smith who was standing outside of her vehicle. The
agent identified himself as a USPS special agent, and immediately read Smith her rights from a
pre-printed card.

                                                2

            Case 2:18-cr-00091-LA Filed 09/12/18 Page 2 of 12 Document 16
        The agent located the opened blue envelope which no longer contained the $20 bill. The
agent allowed Smith to retrieve her purse from the vehicle, and she gave the agent the test $20
bill which was in the side pocket of her purse (the serial number on the $20 bill Smith gave the
agent matched the serial number of the test $20 bill). Postal authorities also located a bundle of
31 USPS customer greeting cards within a USPS satchel on the floor of the front passenger seat
side of Smith's vehicle. In addition, agents also recovered 23 greeting cards and a Starbucks gift
card from between the front seat of Smith's USPS vehicle. Furthermore, agents discovered a roll
of tape and letter openers within the driver's side door of Smith's USPS vehicle.

        Smith was transported to the Wauwatosa Branch Manager's Office. Once at the Branch
Office Smith reviewed and orally received a form advising her of her Garrity rights. Smith
indicated she understood her rights and waived each one, initialing after each right on the waiver
of rights form which she signed. Smith, in part, stated: that she began stealing cash from
greeting cards when she began her route in the Washington Highlands; that she would steal mail
approximately one or two days per week; that she stole cash to pay pills and take care of her four
children. At first Smith estimated she would steal approximately $40.00 per week from
customer mail and later started stealing $50.00 to $100 per week from the greeting cards. Smith
also admitted to using tape to reseal some of the greeting cards she opened.

        On July 24, 2018, the USPS was contacted by "Wrench N Go," an auto salvage yard
regarding a large quantity of U.S. Mail that was discovered in the rear of a vehicle the company
had started to scrap. The vehicle, a Honda Odyssey, had been received from the City of
Milwaukee as a towed vehicle. Multiple letters were located in the vehicle addressed to Ebony
L. Smith and her husband at their known home address. In addition, a review of the vehicle's
registration revealed that it was registered to a person and addresses associated with the
defendant and her husband.

        A review of the First Class Mail recovered from the Honda Odyssey revealed that there
were 6,625 First Class greeting card envelopes and 540 personal checks, some within their
greeting card with envelopes, and 45 unopened greeting cards. The postmarks on the greeting
cards ranged from March 3, 2017 to January 13, 2018.

        This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant's knowledge of, or participation in, this offense.

                                            PENALTIES

       6.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum teini of imprisonment and fine: 5 years

prison and $250,000 fine. Each count also carries a mandatory special assessment of $100, and a

maximum of 3 years of supervised release. The parties further recognize that a restitution order



                                                   3

            Case 2:18-cr-00091-LA Filed 09/12/18 Page 3 of 12 Document 16
may be entered by the court. The parties' acknowledgments, understandings, and agreements

with regard to restitution are set forth in paragraph 27 of this agreement.

         7.       The defendant acknowledges, understands, and agrees that she has discussed the

relevant statutes as well as the applicable sentencing guidelines with her attorney

                                             ELEMENTS

         8.       The parties understand and agree that in order to sustain the charge as set forth in

count one, the government must prove each of the following propositions beyond a reasonable

doubt:

         First, the defendant was a Postal Service employee;
         Second, the item of mail, or thing contained within the item of mail was entrusted to the
         defendant for the purpose of being conveyed by mail; and
         Third, the defendant stole with intent to convert to her own use a thing contained within
         the item of mail.

                                   SENTENCING PROVISIONS

         9.       The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      10.        The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      11.        The defendant acknowledges and agrees that her attorney in turn has discussed the

applicable sentencing guidelines provisions with her to the defendant's satisfaction.

      12.        The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant's criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,
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              Case 2:18-cr-00091-LA Filed 09/12/18 Page 4 of 12 Document 16
the parties may not have full and complete information regarding the defendant's criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court's determination of the

defendant's criminal history.

                                Sentencing Guidelines Calculations

      13.        The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided

false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                          Relevant Conduct

      14.        The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty.

                                        Base Offense Level

      15.        The parties agree to recommend to the sentencing court that the applicable base

offense level for the offense charged in the indictment is 6 under Sentencing Guidelines Manual

§ 2B1.1(a)(2).

                                 Specific Offense Characteristics

      16.        The parties agree to recommend to the sentencing court that a two-level increase

for loss under Sentencing Guidelines Manual § 2B1.1(b)(1)(B) is applicable to the offense level

for the offense charged in the indictment.
                                                 5

            Case 2:18-cr-00091-LA Filed 09/12/18 Page 5 of 12 Document 16
      17.       The parties further agree to recommend to the sentencing court that a two-level

increase for more than 10 victims under Sentencing Guidelines Manual § 2B1.1(b)(2)(A) is

applicable to the offense level for the offense charged in the indictment.

      18.       The parties further agree to recommend to the sentencing court that a two-level

increase for postal worker abuse of trust under Sentencing Guidelines Manual § 3B1.3 is

applicable to the offense level for the offense charged in the indictment.

                                   Acceptance of Responsibility

      19.       The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility.

                                  Sentencing Recommendations

      20.       Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      21.      Both parties reserve the right to make any recommendation regarding any other

matters not specifically addressed by this agreement.

      22.      The government agrees to recommend a sentence within the low-end of the

applicable sentencing guideline range, as determined by the court.

                             Court's Determinations at Sentencing

      23.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the
                                                  6
            Case 2:18-cr-00091-LA Filed 09/12/18 Page 6 of 12 Document 16
imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 6 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

        24.       The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                     FINANCIAL MATTERS

        25.       The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government's collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons' Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

        26.       The defendant agrees to provide to the Financial Litigation Unit (FLU) of the

United States Attorney's Office, at least 30 days before sentencing, and also upon request of the

FLU during any period of probation or supervised release imposed by the court, a complete and

sworn financial statement on a form provided by FLU and any documentation required by the

form.

                                        Special Assessment

        27.      The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.
                                                  7
              Case 2:18-cr-00091-LA Filed 09/12/18 Page 7 of 12 Document 16
                                              Restitution

      28.         The defendant agrees to pay restitution in an amount to be determined by the time

of sentencing. The defendant agrees to cooperate in efforts to collect the restitution obligation.

The defendant understands that imposition or payment of restitution will not restrict or preclude

the filing of any civil suit or administrative action.

                              DEFENDANT'S WAIVER OF RIGHTS

      29.         In entering this agreement, the defendant acknowledges and understands that she

surrenders any claims she may have raised in any pretrial motion as well as certain rights which

include the following:

             a.      If the defendant persisted in a plea of not guilty to the charges against her, she
                     would be entitled to a speedy and public trial by a court or jury. The defendant
                     has a right to a jury trial. However, in order that the trial be conducted by the
                     judge sitting without a jury, the defendant, the government and the judge all
                     must agree that the trial be conducted by the judge without a jury.

             b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                     selected at random. The defendant and her attorney would have a say in who
                     the jurors would be by removing prospective jurors for cause where actual
                     bias or other disqualification is shown, or without cause by exercising
                     peremptory challenges. The jury would have to agree unanimously before it
                     could return a verdict of guilty. The court would instruct the jury that the
                     defendant is presumed innocent until such time, if ever, as the government
                     establishes guilt by competent evidence to the satisfaction of the jury beyond a
                     reasonable doubt.

             c.      If the trial is held by the judge without a jury, the judge would find the facts
                     and determine, after hearing all of the evidence, whether or not he was
                     persuaded of defendant's guilt beyond a reasonable doubt.

             d.      At such trial, whether by a judge or a jury, the government would be required
                     to present witnesses and other evidence against the defendant. The defendant
                     would be able to confront witnesses upon whose testimony the government is
                     relying to obtain a conviction and she would have the right to cross-examine
                     those witnesses. In turn the defendant could, but is not obligated to, present
                     witnesses and other evidence on her own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.



                                                   8

            Case 2:18-cr-00091-LA Filed 09/12/18 Page 8 of 12 Document 16
              e.      At such trial, defendant would have a privilege against self-incrimination so
                      that she could decline to testify and no inference of guilt could be drawn from
                      her refusal to testify. If defendant desired to do so, she could testify on her
                      own behalf.

      30.          The defendant acknowledges and understands that by pleading guilty she is

waiving all the rights set forth above. The defendant further acknowledges the fact that her

attorney has explained these rights to her and the consequences of her waiver of these rights. The

defendant further acknowledges that as a part of the guilty plea hearing, the court may question

the defendant under oath, on the record, and in the presence of counsel about the offense to

which the defendant intends to plead guilty. The defendant further understands that the

defendant's answers may later be used against the defendant in a prosecution for perjury or false

statement.

      31.          The defendant acknowledges and understands that she will be adjudicated guilty

of the offense to which she will plead guilty and thereby may be deprived of certain rights,

including but not limited to the right to vote, to hold public office, to serve on a jury, to possess

firearms, and to be employed by a federally insured financial institution.

      32.          The defendant knowingly and voluntarily waives all claims she may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant's guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.

                               Further Civil or Administrative Action

      33 .         The defendant acknowledges, understands, and agrees that the defendant has

discussed with her attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

                                                   9

             Case 2:18-cr-00091-LA Filed 09/12/18 Page 9 of 12 Document 16
other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                GENERAL MATTERS

      34.       The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      35.      The parties acknowledge, understand, and agree that this plea agreement will be

filed and become part of the public record in this case.

      36.      The parties acknowledge, understand, and agree that the United States Attorney's

office is free to notify any local, state, or federal agency of the defendant's conviction.

      37.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

             EFFECT OF DEFENDANT'S BREACH OF PLEA AGREEMENT

      38.      The defendant acknowledges and understands if she violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government's

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

                                                 10
         Case 2:18-cr-00091-LA Filed 09/12/18 Page 10 of 12 Document 16
agreement is revoked or if the defendant's conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of her breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the

defendant and her attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that she continues to be subject to the terms of

the proffer letter.

                       VOLUNTARINESS OF DEFENDANT'S PLEA

      39.       The defendant acknowledges, understands, and agrees that she will plead guilty

freely and voluntarily because she is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




                                                11
            Case 2:18-cr-00091-LA Filed 09/12/18 Page 11 of 12 Document 16
                                    ACKNOWLEDGMENTS

I am the defendant. I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement. My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines. I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.



Date:   0/ I tZe)(
                                             EBONY L. SMITH
                                             Defendant


I am the defendant's attorney. I carefully have reviewed every part of this agreement with the
defendant. To my knowledge, my client's decision to enter into this agr9ement is an informed
and voluntary one.



Date: C)1        (91 (5'
                                             DANIEL RESHETER
                                             Attorney for Defendant


For the United States of America:



Date:
                                                           UEGER
                                     FillZited States Attorney



Date:
                                             AIL J. HOFF
                                            Assistant United States Attorney




                                               12
         Case 2:18-cr-00091-LA Filed 09/12/18 Page 12 of 12 Document 16
